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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Civil Action No. 13-cv-03309-REB-KMT

  MARTIN THOMAS WIRTH,

          Plaintiff,

  v.

  JOHN HICKENLOOPER, in his official capacity as Governor of Colorado, et al.,

          Defendants.


                       ORDER ADOPTING RECOMMENDATION OF THE
                          UNITED STATES MAGISTRATE JUDGE

  Blackburn, J.

          The matter before me is the Recommendation of United States Magistrate

  Judge [#69],1 filed June 23, 2014. No objections having been filed to the

  recommendation, I review it only for plain error. See Morales-Fernandez v.

  Immigration & Naturalization Service, 418 F.3d 1116, 1122 (10th Cir. 2005).2 I find no

  error, much less plain error, in the magistrate judge’s recommended disposition. Even if

  all the usual requirements warranting the extraordinary remedy of a temporary

  restraining order were satisfied in this case – which they are not – the entry of such an



          1
             “[#69]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.
          2
             This standard pertains even though plaintiff is proceeding pro se in this matter. Morales-
  Fernandez, 418 F.3d at 1122. In addition, because plaintiff is proceeding pro se, I have construed his
  pleadings more liberally and held them to a less stringent standard than formal pleadings drafted by
  lawyers. See Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197, 2200, 167 L.Ed.2d 1081 (2007);
  Andrews v. Heaton, 483 F.3d 1070, 1076 (10th Cir. 2007); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th
  Cir. 1991) (citing Haines v. Kerner, 404 U.S. 519, 520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 652 (1972)).
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  order clearly is precluded by the Rooker-Feldman doctrine, as detailed in the

  recommendation. I therefore find and conclude that the magistrate judge’s

  recommendation should be approved and adopted.

        THEREFORE, IT IS ORDERED as follows:

        1. That Recommendation of United States Magistrate Judge [#69], filed June

  23, 2014, is APPROVED AND ADOPTED as an order of this court; and

        2. That plaintiff's Emergency Motion for Temporary Restraining Order

  Pursuant to Rule 65(b) [#62], filed June 2, 2014, is DENIED.

        Dated August 13, 2014, at Denver, Colorado.

                                                 BY THE COURT:




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